                          Case 2:10-cr-00547-RFB-PAL            Document 578      Filed 05/09/12     Page 1 of 1


                      1     GORDON SILVER
                            PAOLA M. ARMENI
                      2     Nevada Bar No. 8357
                            Email: parmeni@gordonsilver.com
                      3     3960 Howard Hughes Pkwy., 9th Floor
                            Las Vegas, Nevada 89169
                      4     Tel: (702) 796-5555
                            Fax: (702) 369-2666
                      5     Attorney for Defendant,Jacob McLaughlin

                      6
                                                          UNITED STATES DISTRICT COURT
                      7
                                                                 DISTRICT OF NEVADA
                      8

                      9     UNITED STATES OF AMERICA,                          CASE NO. 2:10-cr-00547-RLH-GWF

                     10                            Plaintiff,

                     11     vs.

                     12     JACOB MCLAUGHLIN,

                     13                            Defendant,

                     14

                     15       ORDER TO TRANSPORT AND DETAIN DEFENDANT JACOB MCLAUGHLIN TO
                                           NEVADA SOUTHERN DETENTION CENTER
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                                     This Court held a Change of Plea hearing in the above-captioned matter on May 8, 2012.
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                            Upon request of Defendant Jacob McLaughlin’s counsel Paola M. Armeni, Esq., of the law firm
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                            of Gordon Silver and the non-opposition of Assistant United States Attorney Patrick Walsh of
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                            the United States Attorney’s Office and good cause appearing therefor;
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                                     IT IS HEREBY ORDERED that the Defendant, Jacob McLaughlin, having previously
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                            been ordered detained is hereby immediately remanded to federal custody.
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                                     IT IS FURTHER ORDERED that Jacob McLaughlin be transported to the Nevada
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                            Southern Detention Center in Pahrump, Nevada where he shall remain detained pending his
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                            sentencing, in the above entitled matter, currently scheduled for November 5, 2012 at 2:00 p.m.
                     25
                                     DATED this 9th day of May 2012.
                     26
                                                                        ______             _______
                     27
                                                                        ROGER L. HUNT
                                                                        UNITED   STATES  DISTRICT   COURT JUDGE
                     28                                                 UNITED STATES DISTRICT JUDGE
                                                                        ROGER   L. HUNT
     Gordon Silver
     Attorneys At Law                                                    1 of 1
        Ninth Floor         103245-001/~8591860
3960 Howard Hughes Pkwy
Las Vegas, Nevada 89169
      (702) 796-5555
